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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

REDHAWK HOLDINGS, INC.,                     )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )    Case No. 1:24-cv-00196-SNLJ
                                            )
QUANTERNARY RESOURCE                        )
INVESTIGATION, LLC,                         )
                                            )
              Defendant.                    )

                            MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion to Dismiss pursuant to

Federal Rule of Civil Procedure 12(b). [Doc. 16]. The motion is fully briefed. For

the reasons stated below, the motion to dismiss for lack of personal jurisdiction will

be granted, and this matter will be dismissed.

                                 I. BACKGROUND

       Plaintiff Redhawk Holdings, Inc. filed this lawsuit against defendant

Quanternary Resource Investigation, LLC (“QRI”) asserting a claim of detrimental

reliance related to plaintiff’s acquisition of Cody Development, LLC (“Cody”).

[Docs. 1, 8]. According to plaintiff, it relied upon representations made by

defendant’s officers in making the acquisition of Cody, and then subsequently learned

the representations were false. [Doc. 8]. Plaintiff alleges defendant had an agreement

with Cody to perform work in Louisiana and was Cody’s sole customer. [Docs. 8 at

¶ 10, 16 at 5, 16-1 at ¶ 10].
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        In the First Amended Complaint, plaintiff alleges jurisdiction is proper because

the parties are citizens of different states, and venue is proper because defendant

conducts business in New Madrid County, Missouri. [Doc. 8 at ¶¶ 2-3]. Neither the

parties, nor Cody are located in Missouri. [Docs. 8, 15, 16-1]. Plaintiff is a Nevada

corporation with its principal place of business in Florida. [Doc. 8 at ¶ 1]. Defendant

is a Louisiana limited liability company with its principal place of business in

Louisiana. [Id. at ¶ 2]. Defendant’s members are individuals who reside in Louisiana

and Texas. [Docs. 15, 16-1 at ¶ 9]. Cody is also a Louisiana limited liability

company. [Docs. 16 at 4-5, 16-1 at ¶ 11].

        Defendant seeks dismissal under Rule 12(b) due to a lack of personal

jurisdiction. 1 [Doc. 16]. In support of its motion, defendant submitted an Affidavit

from its President and Managing Member, Fonda Lindfors New, stating that

defendant last performed work in Missouri on September 10, 2013. [Doc. 16-1 at

¶¶ 6-7]. New also testified that defendant does not have an office or employees in the

Missouri, nor is it performing any work in Missouri. [Id. at ¶¶ 5, 8]. Defendant also

points out that the alleged actions that are the subject of this lawsuit occurred in

Louisiana. [Doc. 16 at 5].




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  Defendant moves for dismissal under Rule 12(b) on three grounds – lack of personal
jurisdiction, improper venue, and failure to state a claim upon which relief can be granted.
[Doc. 16]. Because the Court finds that it does not have personal jurisdiction over
defendant, it is not necessary to address the other issues raised in defendant’s motion.
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                               II. LEGAL STANDARD

       To allege personal jurisdiction, a plaintiff must plead sufficient facts to support

a reasonable inference that the defendant is subject to jurisdiction within the state.

Dairy Farmers of America, Inc. v. Bassett & Walker Intern., Inc., 702 F.3d 472, 474

(2012). A defendant may move for dismissal of a complaint for lack of personal

jurisdiction. Fed. R. Civ. P. 12(b)(2). A plaintiff’s prima facie showing of personal

jurisdiction “must be tested, not by the pleadings alone, but by affidavits and exhibits

supporting or opposing the motion.” Fastpath, Inc. v. Arbela Techs. Corp., 760 F.3d

816, 820 (8th Cir. 2014). The evidence is viewed in the light most favorable to the

plaintiff and all factual conflicts are resolved in favor of the plaintiff. Id. However,

the plaintiff bears the burden to prove personal jurisdiction exists; it does not shift to

the defendant challenging jurisdiction. Id.

                                   III. DISCUSSION

       “Personal jurisdiction over a defendant represents the power of a court to enter

a valid judgment imposing a personal obligation or duty in favor of the plaintiff.”

Viasystems, Inc. v. EBM-Papst St. Georgen GmbH & Co., KG, 646 F.3d 589, 592 (8th

Cir. 2011) (cleaned up). Personal jurisdiction may be general or specific. Bristol-

Myers Squibb Co. v. Superior Court of California, San Francisco County, 582 U.S.

255, 262 (2017). General jurisdiction “refers to the power of a state to adjudicate any

cause of action involving a particular defendant, regardless of where the cause of

action arose.” Viasystems, Inc., 646 F.3d at 593 (cleaned up). Specific jurisdiction

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“refers to jurisdiction over causes of action arising from or related to a defendant’s

actions within the forum state.” Id. (cleaned up). Although it appears plaintiff is

alleging general jurisdiction, the Court will address both.

A. General Jurisdiction

       A court with general jurisdiction “may hear a lawsuit against a defendant who

has continuous and systematic contacts with the forum state, even if the injuries at

issue in the lawsuit did not arise out of the defendant’s activities directed at the

forum.” Dever v. Hentzen Coatings, Inc., 380 F.3d 1070, 1073 (8th Cir. 2004)

(cleaned up). The sole allegation in the Complaint related to personal jurisdiction is

that defendant conducts business in New Madrid County, Missouri. [Doc. 8 at ¶ 3].

However, defendant refutes that allegation with the Affidavit of New, who testified

that defendant last performed work in Missouri on September 10, 2013, that defendant

does not have an office or employees in Missouri, and defendant is not performing

any work in Missouri. [Doc. 16-1 at ¶¶ 5-8].

       Where, as here, a defendant raises through affidavits or other means a

meritorious challenge to personal jurisdiction, plaintiff must prove jurisdiction by

affidavits, testimony, or documents. Dever, 380 F.3d at 1072. In its response to the

motion, plaintiff offers an unauthenticated document it refers to as “an investor

presentation prepared by defendant.” [Docs. 17 at 2, 17-1]. Plaintiff points to three

representations in that document: 1) WQRI has 12 offices throughout the county; 2)

WQRI has “facility support services” at Fort Leonard Wood in Missouri; and 3)

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WQRI maintains St. Louis and Kansas City districts. [Id.]. Based on that document

alone, plaintiff argues defendant conducts sufficient business in Missouri to subject it

to personal jurisdiction.

       In response, Defendant submits a second Affidavit from its President and

Managing Member, Fonda Lindfors New, explaining that the document is a marketing

brochure for WQRI, not defendant QRI. [Docs. 18 at 2, 18-1]. She further explains

that WQRI is a joint venture involving defendant QRI and other companies and that

the claims in this lawsuit are not related to the WQRI joint venture. [Doc. 18-1]. She

testifies that defendant has not performed any work or services in Missouri since

September 2013 as a company or when working with a joint venture. Id.

Additionally, defendant points out that plaintiff misconstrues the information in the

WQRI marketing brochure because: 1) none of the 12 offices are in Missouri; 2) the

references are to “Agency” personnel and there is no reference to defendant; and 3)

the districts referenced in the marketing brochure are districts for the U.S. Army

Corps of Engineers, not QRI. [Doc. 18 at 2].

       Based on the allegations in the First Amended Complaint and the parties’

submissions on the motion to dismiss, there is no basis to find that defendant has

continuous and systematic contacts with Missouri. Thus, this Court does not have

general jurisdiction over defendant.




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B. Specific Jurisdiction

       Specific jurisdiction is proper “when a defendant has certain contacts with the

forum State and the cause of action arises out of those contacts.” Creative Calling

Sols., Inc. v. LF Beauty Ltd., 799 F.3d 975, 979–80 (8th Cir. 2015). Two

requirements must be met for specific jurisdiction: (1) jurisdiction must be allowed by

the forum long-arm statute; and (2) the reach of the long-arm statute must comport

with due process. Viasystems, 646 F.3d at 593. Due process requires that there be

“minimum contacts” between the nonresident defendant and the forum state “such

that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 315 (1945).

       Missouri’s long-arm statute authorizes jurisdiction over a person, firm, or

corporation “who in person or through an agent does any of the acts enumerated in

this section,” including “[t]he transaction of any business within this state.”

§ 506.500.1(1) RSMo. However, only causes of action arising from the acts

enumerated in the long-arm statute are sufficient for jurisdiction. § 506.500.3 RSMo.

Plaintiff does not argue that the cause of action alleged in the First Amended

Complaint arises from the transaction of business in the Missouri. Indeed, the acts

and/or omissions that are the subject of this lawsuit occurred in Louisiana. As a

result, plaintiff fails to meet the first requirement for specific jurisdiction. Thus, this

Court does not have specific jurisdiction over defendant.



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                                 IV. CONCLUSION

      Plaintiff has not demonstrated by affidavit, testimony, or documents that

defendant has continuous and systematic contacts with Missouri to subject it to

general jurisdiction. Nor has plaintiff demonstrated that that the cause of action

alleged in the First Amended Complaint arises from the transaction of business in

Missouri. Therefore, Plaintiff fails to meet its burden of proof to show that defendant

is subject to jurisdiction within Missouri. Because the Court lacks personal

jurisdiction over defendant, this matter must be dismissed.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss [Doc. 16]

pursuant to Federal Rule of Civil Procedure 12(b)(2) is GRANTED and this matter is

DISMISSED without prejudice to refiling in the appropriate court. A separate Order

of Dismissal will be issued.

      SO ORDERED this 5th day of May, 2025.



                                       STEPHEN N. LIMBAUGH, JR.
                                       SENIOR UNITED STATES DISTRICT JUDGE




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